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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA

              Plaintiff,

       v.                                                  Case No. 10-20388
                                                           Honorable Mark A. Goldsmith
D-1    LAMONTE WATSON, JR.,
D-2    ISAAC DENEL MEEKS,
D-3    SHAWN RENARD SMITH,
D-4    TIMOTHY GRAYSON,
D-5    ANTONIO WATSON,
D-6    HANSEL WILLIAMS,
D-7    TERRANCE ALEXANDER,
D-8    VOURICE MEEKS,
D-9    DUANE WILLIAMS,
D-10   DAMICHAEL WASHINGTON,
D-11   TRENCE WOODS,
D-12   LEMETRIUS KNAPP,
D-13   ROQUAN WESLEY,

            Defendants.
____________________________________/

    ORDER DENYING ANTONIO WATSON’S MOTION TO REVOKE ORDER OF
                           DETENTION

       Before the Court is Defendant Antonio Watson’s Motion to Revoke Order of Detention

(docket entry (D.E.) 273).    On April 5, 2011, the Court conducted a telephonic hearing

concerning the motion. At the conclusion of that hearing the Court denied the motion for

reasons set forth on the record and adopted the findings of United States Magistrate Judge

Michael Hluchaniuk, as set out in his July 20, 2010 Order of Detention Pending Trial (D.E. 43).

       Accordingly, the motion (D.E. 273) is denied.

       IT IS SO ORDERED.

Dated: April 5, 2011                               s/Mark A. Goldsmith
                                                   MARK A. GOLDSMITH
                                                   United States District Judge
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court=s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on April 5, 2011.

                                                    s/Lisa Wagner for Deborah J. Goltz
                                                    DEBORAH J. GOLTZ
                                                    Case Manager




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